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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                           )
KASPERSKY LAB, INC.                                        )
                                                           )
and                                                        )
                                                           )
KASPERSKY LABS LIMITED                                     )
                                                           )
                              Plaintiffs,                  ) Civ. Act. No. 17-cv-02697-CKK
                                                           )
       v.                                                  )
                                                           )
U.S. DEPARTMENT OF HOMELAND SECURITY                       )
                                                           )
and                                                        )
                                                           )
KIRSTJEN NIELSEN, in her official capacity as              )
Secretary of Homeland Security                             )
                                                           )
                              Defendants.                  )
                                                           )

               DECLARATION OF RYAN P. FAYHEE IN SUPPORT OF
            PLAINTIFFS’ APPLICATION FOR PRELIMINARY INJUNCTION

I, Ryan P. Fayhee, hereby declare:

       1.      I am an attorney and Partner at the law firm Baker & McKenzie LLP.

       2.      I make this Declaration in support of Plaintiffs’ Application for Preliminary

Injunction, in the above-captioned case.1

       3.      All facts set forth herein are based on my personal knowledge.

       4.      Attached hereto as Exhibit A is a true and correct copy of a letter dated July 18,

2017 from Eugene Kaspersky, Founder and C.E.O. of Kaspersky Lab, to the Honorable John F.

Kelly, (then) Secretary of the Homeland Security.


1
  Because this case seeks review of agency action under the Administrative Procedure Act, I am
including a complete set of exhibits, and have not omitted any pages pursuant to Section 10(D)
of the Court’s Standing Order (Doc. 3).

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       5.      Attached hereto as Exhibit B is a true and correct copy of a letter dated August 14,

2017, from Jeanette Manfra, Senior Official Performing the Duties of Under Secretary, to

Eugene Kaspersky, Founder and C.E.O. of Kaspersky Lab.

       6.      Attached hereto as Exhibit C is a true and correct copy of Binding Operational

Directive 17-01, dated September 13, 2017 (the “BOD”), issued by the Department of Homeland

Security (DHS).

       7.      Attached hereto as Exhibit D is a true and correct copy of the DHS Decision

Memorandum regarding the BOD, also dated September 13, 2017.

       8.      Attached hereto as Exhibit E is a true and correct copy of the DHS Information

Memorandum regarding “Proposed Binding Operational Directive 17-01, Removal of

Kaspersky-Branded Products” dated September 1, 2017. DHS did not provide this to Kaspersky

Lab until September 29, 2017, following my request to DHS.

       9.      Attached hereto as Exhibit F is a true and correct copy of the DHS letter from

Elaine Duke, Acting Secretary of DHS, to Eugene Kaspersky, Founder and C.E.O. of Kaspersky

Lab, dated September 13, 2017.

       10.     Attached hereto as Exhibit G is a true and correct copy of the DHS press release

regarding the BOD, dated September 13, 2017, available at:

https://www.dhs.gov/news/2017/09/13/dhs-statement-issuance-binding-operational-directive-17-

01.

       11.     Attached hereto as Exhibit H is a true and correct copy of the Federal Register,

Vol. 82, No. 180, pages 43782-43784, dated September 19, 2017, from the U.S. Government

Publishing Office website, available at:

https://www.gpo.gov/fdsys/pkg/FR-2017-09-19/pdf/FR-2017-09-19.pdf.



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        12.    Attached hereto as Exhibit I is a true and correct copy of email correspondence

between Daniel W. Sutherland, DHS Associate General Counsel, and me, from October 2017.

        13.    Attached hereto as Exhibit J is a true and correct copy of the submission of

Kaspersky Lab (the “Kaspersky Lab Submission”), which I submitted to DHS on November 10,

2017.

        14.    Following the issuance of the BOD, DHS repeatedly declined my requests to

engage with DHS in order to present Kaspersky Lab’s position, address DHS’s concerns, and

offer or discuss any potential options for mitigation.      However, following delivery of the

Kaspersky Lab Submission, I met with DHS officials regarding the BOD on November 29, 2017.

At that meeting, Plaintiffs responded to a number questions from DHS attorneys regarding the

Kaspersky Lab Submission. But DHS did not offer any further support for the BOD, or indicate

that it was willing to rectify any procedural or substantive deficiencies, or consider any less

draconian options short of the BOD’s outright ban on Kaspersky Lab.

        15.    Attached hereto as Exhibit K is a true and correct copy of the DHS Final

Decision on the BOD, dated December 6, 2017.

        16.    Attached hereto as Exhibit L is a true and correct copy of the DHS Information

Memorandum regarding the Final Decision on the BOD, dated December 4, 2017.

        17.    Attached hereto as Exhibit M is a true and correct copy of the DHS letter from

Elaine Duke, Acting Secretary of DHS, to Eugene Kaspersky, Founder and C.E.O. of Kaspersky

Lab, dated December 6, 2017.

        18.    Attached hereto as Exhibit N is a true and correct copy of the Politico article, The

checklist for DHS on election security, Dec. 13, 2017, available at:




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https://www.politico.com/newsletters/morning-cybersecurity/2017/12/13/the-checklist-for-dhs-

on-election-security-051116.

       19.    Attached hereto as Exhibit O are true and correct copies of customer reviews on

Amazon.com for Kaspersky Lab antivirus software (queried and printed on January 11, 2018).

       I declare under penalty of perjury that the foregoing is true and correct.



Executed on January 17, 2018

Washington, D.C.



                                                     /s/ Ryan P. Fayhee
                                                     Ryan P. Fayhee




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